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		OSCN Found Document:RE REVOCATION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS

					

				
  



				
					
					
						
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				RE REVOCATION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2020 OK 47Decided: 06/01/2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 47, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 


RE: Revocation of Certificates of Certified Shorthand Reporters

ORDER


On March 1, 2020, this Court suspended the certificates of several Certified Shorthand Reporters for failure to comply with the continuing education requirements for calendar year 2019 and/or with the annual certificate renewal requirements for 2020. See 2020 OK 16 (SCAD 2020-19).

Pursuant to the Executive Order 2020-07 (as amended), the Chief Justice, authorized that all court reporters, whose licenses were suspended on March 1, 2020, for failure to comply with the renewal requirements for 2020 be given until May 15, 2020 to comply.

The Oklahoma Board of Examiners of Certified Shorthand Reporters has advised that the court reporters listed below continue to be delinquent in complying with the continuing education and/or annual certificate renewal requirements, and the Board has recommended to the Supreme Court, the revocation of the certificate of each of these court reporters, effective May 15, 2020, pursuant to 20 O.S., Chapter 20, App. I, Rules 20(c) and 23(d).

IT IS THEREFORE ORDERED that the credential of each of the Certified Shorthand Reporters named below is hereby revoked effective May 15, 2020.


	
		
			
			Shawna Austin
			
			
			Tessa Neighbors
			
		
		
			
			Molly Cook
			
			
			David Parsons
			
		
		
			
			Missy Craig
			
			
			Debra Soukup
			
		
		
			
			Rita Hejny
			
			
			Kimberly Wilson Kaufman
			
		
	


&nbsp;

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 1ST day of JUNE, 2020.


/S/CHIEF JUSTICE


Gurich, C.J., Darby, V.C.J., Kauger, Winchester, Edmondson, Colbert, Combs and Kane, JJ., concur;

Rowe, J., not voting.


&nbsp;





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&nbsp;2020 OK 16, RE SUSPENSION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERSCited


	
	








				
					
					
				

		
		

	
		
			
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